      Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 1 of 28


 1   PRISON LAW OFFICE                                       BINGHAM, McCUTCHEN, LLP
     DONALD SPECTER Bar No.: 83925                           WARREN E. GEORGE Bar No.: 53588
 2   STEVEN FAMA Bar No.: 99641                              Three Embarcadero Center
     E. IVAN TRUJILLO Bar No.: 228790                        San Francisco, California 94111
     General Delivery                                        Telephone: (415) 393-2000
 3   San Quentin, California 94964
     Telephone: (415) 457-9144
 4   ROSEN, BIEN & GALVAN, LLP                               HELLER, EHRMAN, WHITE &
     MICHAEL W. BIEN Bar No.: 096891                         McAULIFFE
 5   JANE E. KAHN Bar No.: 112239                            RICHARD L. GOFF Bar No.: 36377
     AMY WHELAN Bar No.: 215675                              701 Fifth Avenue
 6   LORI RIFKIN Bar No.: 244081                             Seattle, Washington 98104
     SARAH M. LAUBACH Bar No.: 240526                        Telephone: (206) 447-0900
 7   315 Montgomery Street, 10th Floor
     San Francisco, California 94104
     Telephone: (415) 433-6830
 8
     THE LEGAL AID SOCIETY –
 9   EMPLOYMENT LAW CENTER
     CLAUDIA CENTER Bar No.: 158255
     LEWIS BOSSING Bar No.: 227402
10   600 Harrison Street, Suite 120
     San Francisco, CA 94107
11   Telephone: (415) 864-8848
12   Attorneys for Plaintiffs
                          IN THE UNITED STATES DISTRICT COURTS
13
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
14                      AND THE NORTHERN DISTRICT OF CALIFORNIA
                 UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
15
                  PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
16
     RALPH COLEMAN, et al.,                            ) No.: Civ S 90-0520 LKK-JFM P
                                                       )
17                 Plaintiffs,                         ) THREE-JUDGE COURT
                                                       )
18         vs.                                         )
                                                       )
19 ARNOLD SCHWARZENEGGER, et al.,                      )
                                                       )
            Defendants.                                )
20                                                     )
   MARCIANO PLATA ,et al.,                             ) No. C01-1351 TEH
21                                                     )
            Plaintiffs,                                ) PLAINTIFFS’ STATEMENT REGARDING
22     vs.                                             ) DISCOVERY DISPUTE
                                                       )
     ARNOLD SCHWARZENEGGER, et al.,                    ) Date:      November 19, 2007
23                                                     ) Time:      1:30 p.m.
           vs.                                         ) Place:     Courtroom 26
24                 Defendants.                         ) Judge:     Hon. John F. Moulds,
                                                       )            Magistrate Judge
25
26
27
28

              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
      Case 2:90-cv-00520-KJM-SCR                       Document 2537                 Filed 11/19/07              Page 2 of 28


 1                                                   TABLE OF CONTENTS
 2                                                                                                                                         Page
 3   I.     PLAINTIFFS’ STATEMENT REGARDING THE NATURE OF THE CASE
            AND DISCOVERY DISPUTES........................................................................................ 1
 4
     II.    PLAINTIFFS’ STATEMENT REGARDING DETAILS OF THE MEET AND
 5          CONFER ............................................................................................................................ 3
 6   III.   DISPUTES REGARDING THE ADEQUACY OF DEFENDANTS’
            PRODUCTION .................................................................................................................. 4
 7
            A.        Defendants’ Search For Documents Responsive To Plaintiffs’ Requests
 8                    for Production Has Been Inadequate And Unreasonable ....................................... 4
 9                    1.        The Limited Number Of Potentially Responsive Documents
                                Identified By Defendants To Be Reviewed Raises Substantial
10                              Questions About The Meaningfulness of Their Electronic Data
                                Search........................................................................................................... 4
11
                      2.        The Search Terms Applied By Defendants Are Prohibitively
12                              Restrictive And Will Exclude Responsive Documents ............................... 6
13                    3.        Defendants Have Not Searched For Documents Responding To
                                Plaintiffs’ Second Set of Requests For Production...................................... 8
14
                      4.        Defendants Should Be Ordered To Allow Plaintiffs To Run Their
15                              Own Searches On Defendants’ Document Index, To Produce
                                Documents Accordingly, And To Create And Produce A List Of
16                              Search Terms Responsive to Plaintiffs’ Second Set Of Requests
                                For Production.............................................................................................. 9
17
            B.        In Order To Meaningfully Respond To Plaintiffs’ Second Set Of
18                    Discovery Requests, Defendants Must Gather Documents From
                      Additional Individuals........................................................................................... 10
19
                      1.        Defendants Should Be Ordered To Gather Responsive Documents
20                              From Additional Headquarters And Institution-Specific Staff.................. 10
21          C.        Defendants Should Be Required To Provide Additional Information
                      Concerning Potential Spoliation Of Evidence From Custodians’ Hard
22                    Drives .................................................................................................................... 16
23                    1.        Defendants Have Not Adequately Explained What Happened To
                                Former Employees’ Hard Drives ............................................................... 16
24
                      2.        Defendants Should Be Ordered To Produce Information Relevant
25                              To Further Proceedings On This Issue....................................................... 19
26   IV.    ADDITIONAL DISCOVERY DISPUTES WHICH PLAINTIFFS REQUEST
            BE HEARD AS SOON AS POSSIBLE BY THIS COURT ........................................... 20
27
28

                                                                        -i-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR                Document 2537              Filed 11/19/07           Page 3 of 28


 1       A.     The Urgent Need For A Hearing Concerning Plaintiffs’ Objections To
                Defendants’ Overbroad Assertions Of Privilege And The Scope Of The
 2              Application Of The Deliberative Process Privilege In This Case......................... 20
 3       B.     Dispute Regarding Defendants’ Responses To Plaintiffs’ Second Set Of
                Discovery Requests............................................................................................... 22
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                             -ii-
           Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
      Case 2:90-cv-00520-KJM-SCR                     Document 2537             Filed 11/19/07          Page 4 of 28


 1                                              TABLE OF AUTHORITIES
 2                                                                                                                            Page
                                                               CASES
 3
     Cache La Poudre Feeds, LLC v. Land O Lakes, Inc.,
 4         244 F.R.D. 614 (D. Colo. 2007)...................................................................................... 19
 5   Google Inc. v. Am. Blind & Wallpaper Factory, Inc.,
           2007 WL 1848665 (N.D. Cal. June 26, 2007) ................................................................ 19
 6
     Gray v. Faulkner,
 7         148 F.R.D. 220 (N.D. Ind. 1992) .................................................................................... 13
 8   Hill v. Eddie Bauer,
             242 F.R.D. 556 (C.D. Cal., 2007) ................................................................................... 13
 9
     Holmes v. Teer,
10        2006 WL 1550201, (E.D. Cal. May 31, 2006)................................................................ 13
11   Holmgren v. State Farm Mut. Auto Ins. Co.,
          976 F.2d 573 (9th Cir. 1992)............................................................................................. 8
12
     In re CV Therapeutics, Inc. Securities Litig.,
13          2006 WL 2458720 (N.D. Cal. Aug. 22, 2006)................................................................ 10
14   In re Seroquel Products Liability Litigation,
            --- F.R.D. ---, 2007 WL 2412946 (M.D. Fla 2007) .......................................................... 5
15
     Jacobs v. Scribner,
16         2007 WL 1994235 (E.D. Cal. July 5, 2007) ................................................................... 18
17   Leon v. IDX Sys. Corp.,
           464 F.3d 951 (9th Cir. 2006)........................................................................................... 18
18
     Nat’l Ass'n of Radiation Survivors v. Turnage,
19          115 F.R.D. 543 (N.D. Cal. 1987) .................................................................................... 18
20   Peskoff v. Faber,
           240 F.R.D. 26 (D.D.C. 2007) ............................................................................................ 9
21
     Qualcomm Inc. v. Broadcom Corp.,
22         2007 WL 935617 (S.D. Cal. Mar. 13, 2007)................................................................... 10
23   Quinby v. WestLB AG,
           --- F.R.D. ----, 2006 WL 2597900 (S.D.N.Y. Sept. 5, 2006).......................................... 18
24
     Tenet Healthsystem Desert, Inc. v. Fortis Ins. Co., Inc.,
25         -- F. Supp. 2d --, 2007 WL 2982241 (C.D. Cal. Aug 3, 2007) ....................................... 19
26   Treppel v. Biovail Corp.,
           233 F.R.D. 363 (S.D.N.Y. 2006) .................................................................................. 5, 7
27
     United States ex rel. Englund v. Los Angeles County,
28         235 F.R.D. 675 (E.D. Cal. 2006) .................................................................................. 8, 9
                                                                  -iii-
                Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
      Case 2:90-cv-00520-KJM-SCR                          Document 2537               Filed 11/19/07             Page 5 of 28


 1   Williams v. Bates,
           2007 WL 1630875 (N.D. Ga. June 4, 2007) ................................................................... 10
 2
     Woodburn Construction Co. v. Encon Pacific, LLC,
 3        2007 WL 1287845 (W.D. Wash. 2007) ............................................................................ 5
 4                                                               STATUTES
 5   18 U.S.C. § 3626(a)(3) ................................................................................................................. 1
 6   28 U.S.C. § 2284 .......................................................................................................................... 1
 7                                                     OTHER AUTHORITIES
 8   Charles Alan Wright et al., 8A Federal Practice and Procedure § 2211 (2d ed. 2007) ............... 8
 9                                                                   RULES
10   Fed. R. Civ. P. 37 ................................................................................................................... 9, 15
11   Fed. R. Civ. P. 34 ................................................................................................................. 13, 15
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                         -iv-
                  Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
      Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 6 of 28


 1   I.     PLAINTIFFS’ STATEMENT REGARDING THE NATURE OF THE CASE
            AND DISCOVERY DISPUTES
 2
 3          Plaintiffs are classes of state prisoners with serious medical needs (Plata v.
 4   Schwarzenegger) and serious mental illness (Coleman v. Schwarzenegger) (hereinafter
 5   “Plaintiffs”). On November 13, 2006, the Plaintiff classes separately filed motions in the
 6   Northern and Eastern Districts of California to convene a three-judge court to limit the prison
 7   population in the CDCR, pursuant to 28 U.S.C. § 2284 and 18 U.S.C. § 3626(a)(3). On July
 8   23, 2007, citing Defendants’ failure to remedy their violations of the Plaintiff classes’
 9   constitutional rights to adequate medical and mental health care, respectively, the Plata and
10   Coleman Courts separately granted Plaintiffs’ motions and on July 26, 2007, the Chief Judge
11   of the Ninth Circuit appointed a single three-judge court to consider Plaintiffs’ requests in both
12   cases for a prisoner release order, pursuant to 18 U.S.C. § 3626(a)(3). The two cases were
13   consolidated for the limited purpose of proceedings before the three-judge court. 7/31/07
14   Order at 2:5-12.
15          On August 17, 2007, the Court issued an order referring all discovery disputes arising in
16   these proceedings to Magistrate Judge Moulds in the Eastern District of California. 8/17/07
17   Order at 4:3-5. Plaintiffs served their first discovery on Defendants on September 5, 2007,
18   consisting of Plaintiffs’ First Requests for Production of Documents to Defendants (hereinafter
19   “first set” of discovery requests), attached hereto as Exhibit A to Declaration of Lori Rifkin In
20   Support Of Joint Statement Regarding Discovery Dispute (“Rifkin Decl.”). Pursuant to an
21   order from the Court on September 25, 2007, Defendants’ responses to this discovery request
22   were due October 25, 2007. 9/25/07 Order at 1:27-2:1.
23          Both Plaintiffs and Defendants have subsequently propounded additional discovery
24   requests. Defendants served Coleman and Plata Plaintiffs separately with interrogatories and
25   requests for production that were received on October 4 and October 5, 2007, respectively.
26   Defendants also propounded additional interrogatories and requests for production to
27   individual Plata named Plaintiffs that were received on October 23, 2007. Rifkin Decl. ¶ 3.
28   Coleman Plaintiffs and Plata Plaintiffs separately served Defendants with interrogatories and
                                                          -1-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
         Case 2:90-cv-00520-KJM-SCR            Document 2537          Filed 11/19/07       Page 7 of 28


 1   requests for production on October 17, 2007 (hereinafter collectively “second set” of discovery
 2   requests). Rifkin Decl. ¶ 3.
 3           On October 25, 2007, this Court heard arguments regarding various discovery disputes,
 4   including the schedule for Defendants’ discovery responses and production of documents. On
 5   October 30, 2007, the Court ordered that “by November 1, 2007, defendants will be required to
 6   produce for inspection and copying all documents responsive to plaintiffs’ request for
 7   production of documents unless before that date the parties reach an agreement for some other
 8   schedule for production.” 10/30/07 Order at 5:7-10.
 9           On November 2, 2007 the parties filed a Joint Stipulation Regarding Defendants’
10   Rolling Production (“Stipulation”), attached hereto as Exh. D to Rifkin Decl. Prior to the filing
11   of the stipulation, Defendants disclosed to Plaintiffs the names of the eighty custodians from
12   whom Defendants gathered electronic documents. Rifkin Decl. ¶ 16. In the stipulation,
13   Defendants agreed to a weekly rolling production schedule for paper and electronic documents,
14   to begin November 1 and end on November 30, 2007. Each production is to consist of scanned
15   responsive paper documents from all Defendants (CDCR, DMH, DOF, and GOV), and
16   electronic documents in an agreed-upon format from Defendant custodians in groups
17   designated by Plaintiffs according to priority. The stipulation specifically provides that this
18   rolling production schedule “encompasses Defendants’ responses to Plaintiffs’ Requests for
19   Production, Set One and Two.”1 Stip. at 3:2-3.
20           The stipulation also provided that “Defendants agree to disclose to Plaintiffs no later
21   than Friday, November 9, 2007 the names of additional custodians, if any, that Defendants will
22   gather electronic documents from in responding to Plaintiffs’ Request for Production, Set Two.
23   The parties agree to meet and confer about any requests by Plaintiffs to gather documents from
24   additional custodians.” Stip. at 2:14-18.
25
26
     1
27    “Set One and Two” refer to Plaintiffs’ September 5 and October 17 discovery requests,
     respectively.
28

                                                           -2-
               Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
      Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 8 of 28


 1          In addition, the stipulation provides that “on or before November 5, 2007, Defendants
 2   will provide Plaintiffs with an approximation of the number of electronic and paper documents,
 3   by Department, that Defendants will be reviewing for relevance and privilege and a proposed
 4   schedule for production of paper documents,” Stip. at 3:7-10, and that “on or before November
 5   7, 2007, Defendants will provide a written explanation regarding their efforts to obtain data
 6   from the hard drives of certain former CDCR employees.” Id. at 3:16-18.
 7          Finally, the stipulation states that “the parties agree to meet and confer on an expedited
 8   basis to resolve any discovery disputes, and to seek expedited hearings on motions to compel
 9   when necessary.” Stip. at 5:9-11.
10   II.    PLAINTIFFS’ STATEMENT REGARDING DETAILS OF THE MEET AND
            CONFER
11
12          Between the start of Defendants’ rolling production on November 1, 2007, and
13   November 16, 2007, Plaintiffs and Defendants met and conferred numerous times through
14   telephone conferences and emails regarding multiple discovery issues, narrowing the scope on
15   some, and identifying a number to bring before this Court for resolution. Rifkin Decl ¶ 7.
16   Based on information Defendants have provided since the adoption of the stipulation, Plaintiffs
17   have a number of serious concerns about the adequacy and responsiveness of Defendants’
18   production of documents. On November 9, 2007, the parties contacted the Court to request
19   that a hearing be scheduled regarding Plaintiffs’ objections to the adequacy of Defendants’
20   document production. Id.
21          This hearing was originally scheduled for November 15, 2007, but was postponed by
22   the Court until November 19, 2007 so that the parties could meet and confer further in order to
23   clarify the issues to bring before the Court. Rifkin Decl. ¶ 8. On November 16, 2007, the
24   parties participated in additional telephone conferences with the Court’s clerk and identified
25   the specific issues to brief. Rifkin Decl. ¶ 10. First, Plaintiffs object to Defendants’ use of
26   unreasonable search terms in identifying responsive documents from the electronic data they
27   have gathered. Second, Defendants have refused to gather information from additional
28   custodians beyond headquarters in Sacramento in response to Plaintiffs’ second set of
                                                          -3-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
      Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 9 of 28


 1   discovery. Third, Defendants have identified seven high-level individuals from their
 2   headquarters for whom they were unable to collect electronic information from hard drives
 3   because the hard drives were purportedly “flushed” or lost when these individuals left their
 4   positions at Defendant agency headquarters.
 5          Plaintiffs have also raised objections concerning two additional urgent discovery issues,
 6   and request that they be heard by the Court in an expedited manner. First, Plaintiffs object to
 7   Defendants’ overbroad application of privileges, including primarily the deliberative process
 8   privilege. Second, Plaintiffs object to Defendants’ responses to Plaintiffs’ second set of
 9   discovery requests. Per the direction of the Court, Plaintiffs will brief the necessity for a
10   hearing on those issues at the end of this statement. Rifkin Decl. ¶ 9.
11   III.   DISPUTES REGARDING THE ADEQUACY OF DEFENDANTS’
            PRODUCTION
12
            A.     Defendants’ Search For Documents Responsive To Plaintiffs’ Requests for
13                 Production Has Been Inadequate And Unreasonable
14                 1.       The Limited Number Of Potentially Responsive Documents Identified
                            By Defendants To Be Reviewed Raises Substantial Questions About
15                          The Meaningfulness of Their Electronic Data Search
16          The Stipulation required Defendants to notify Plaintiffs on November 5, 2007 as to the
17   number of documents Defendants estimate that they will be reviewing for relevance and
18   privilege in response to Plaintiffs’ Requests for Production. Stip. at 3:7-10. In response,
19   Defendants estimated that they would be reviewing only 27,000 electronic documents and
20   140,000 pages of paper documents in response to both sets of Plaintiffs’ discovery requests.
21   Rifkin Decl. ¶ 11, Exh. F.
22          Plaintiffs consulted with retained electronic discovery experts as to the reasonableness
23   of the numbers of documents cited by Defendants to be reviewed, compared with the amount
24   of data Defendants claimed to have collected. Based on this consultation, Plaintiffs determined
25   that the number of documents Defendants would have been expected to identify as potentially
26   responsive based on the volume of data gathered was much larger than what Defendants
27   actually identified. Rifkin Decl. ¶ 12; Declaration of James Long In Support of Plaintiffs’
28   Statement Regarding Discovery Dispute (“Long Decl.”) ¶ 3.
                                                          -4-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 10 of 28


 1          Plaintiffs, Defendants, and both parties’ electronic discovery consultants met and
 2   conferred via telephone conference regarding this issue on November 13 and 15, 2007. Long
 3   Decl. ¶¶ 4-8. On November 14, 2007, Defendants provided a list of the search terms they
 4   utilized to identify documents they would review from the universe of data they collected.
 5   Rifkin Decl. ¶ 18, Exh. G. Based on the information provided during these calls and the list of
 6   search terms, it is apparent that Defendants have failed to conduct meaningful, adequate, or
 7   reasonable searches in response to Plaintiffs’ document requests.
 8          The process of producing electronic data begins by gathering data from hard drives,
 9   network servers, and other sources. Upon completion of this collection of data, an “index” is
10   created. The index is analogous to a card catalog or book index for the data Defendants have
11   collected from these custodians. Rather than containing actual documents, it is a collection of
12   words or terms created by an electronic indexing program that correspond to the words or
13   terms in the documents collected. Searches are then run against this index and any matches, or
14   “hits,” indicate documents that may be responsive to that search. This is the process
15   Defendants used to identify the documents they are reviewing for possible production. Long
16   Decl. ¶ 7.
17          In many electronic discovery cases, the responding party is required to share
18   information about the ways in which they are identifying potentially responsive data with the
19   propounding party. This is particularly true of the list of terms used to search the index. See,
20   e.g., Woodburn Construction Co. v. Encon Pacific, LLC, 2007 WL 1287845, *1 (W.D. Wash.
21   Apr. 30, 2007) (electronic discovery consultants working together, use of agreed upon search
22   terms); In re Seroquel Prods. Liability Litig., --- F.R.D. ---, 2007 WL 2412946, at *16 (M.D.
23   Fla. Aug. 21, 2007); Treppel v. Biovail Corp., 233 F.R.D. 363, 374 (S.D.N.Y. 2006) (requiring
24   responding party to provide requesting party with “a detailed explanation of the search
25   protocol it implements”).
26          In this case, Defendants produced their list of search terms and answers to Plaintiffs’
27   questions about the method used to gather electronic data only after numerous requests, and
28   after two electronic productions were substantially completed. Plaintiffs have also requested,
                                                          -5-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 11 of 28


 1   but have not yet received, Defendants’ index, list of search terms in the format actually
 2   applied, and the “hit list” showing the results of their search against the index. We are now
 3   already halfway through the rolling production schedule, and resolution of this issue is
 4   extremely urgent.
 5          As a result of the information provided on the November 15, 2007 call and the list of
 6   search terms Defendants produced to Plaintiffs on November 14, 2007, it is clear that
 7   Defendants are not conducting reasonable or adequate searches to respond to either set of
 8   Plaintiffs’ discovery requests. Plaintiffs have identified two very serious problems that
 9   undermine the integrity of the entire production process.
10                  2.      The Search Terms Applied By Defendants Are Prohibitively
                            Restrictive And Will Exclude Responsive Documents
11
            First, Defendants’ search terms are clearly inadequate to respond to any of Plaintiffs’
12
     requests for production. Defendants did not produce the list of search terms that they used in
13
     the actual “DT Search” format they applied,2 but the list that Defendants did produce
14
     demonstrates a clear violation of their duty to conduct reasonable searches in response to
15
     requests for production. The search terms used by Defendants cannot seriously be considered
16
     to be calculated to produce meaningful results.
17
            Essentially, all Defendants have done is taken the exact words Plaintiffs used in the
18
     requests for production and link them together to form searches. Compare Rifkin Decl. Exhs.
19
     A, B, and G. Electronic searches look only for the words requested, and only in the
20
     combinations that the search directs. This means that a search for “bad bed” would miss
21
     documents referring to “emergency bed,” “overcrowding bed,” “ugly bed,” or to beds in
22
     dayrooms, gymnasiums, and classrooms that are not explicitly referred to as “bad beds.” A
23
     search for “infrastructure capacity projects” would not necessarily identify documents
24
     discussing the need for more water, sewage, or toilet resources.
25
26   2
      Plaintiffs’ consultants have requested the list in this format, but to date have not received it. Long
27   Decl. ¶ 6. The “DT Search” list would allow Plaintiffs’ electronic discovery consultants to better
     analyze the usefulness of the search terms that were applied.
28

                                                          -6-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 12 of 28


 1          Many of Plaintiffs’ requests in the first set of requests for production ask about projects
 2   authorized by AB 900. Rifkin Decl. Exh. A. In constructing their searches, Defendants have
 3   taken this so literally that, for the most part, the only documents that will be identified are
 4   documents with the words “AB 900” actually in them. Rifkin Decl. Exh. G. As such, a
 5   document discussing the construction of re-entry beds that are part of the plan described in AB
 6   900, but that does not refer to the authorizing law, will not be “hit” on the search. At the same
 7   time, Defendants did not even include a search for “AB 900” or “Assembly Bill 900.” Rifkin
 8   Decl. Exh. G.
 9          For example, Plaintiffs’ First Requests for Production of Documents to Defendants
10   includes:
11
                     Request No. 1: “Any and all DOCUMENTS created during the
12                   RELEVANT TIME PERIOD that REFER or RELATE TO the
13                   implementation of AB 900, INCLUDING but not limited to the
                     PRISONS’ capacity for traffic, sewage, water, power and other
14                   infrastructure, the presence of valley fever at or in the vicinity of the
15                   PRISONS, and staffing levels at PRISONS.”

16   Rifkin Decl. Exh. A at 10. Defendants’ allegedly responsive search terms include queries such
17   as “AB or ‘Assembly Bill’ /2 900 and implement~ and sewage” and “AB or ‘Assembly Bill’ /2
18   900 and fever /2 valley /5 mitigation.” Rifkin Decl. Exh. G. There are no searches for “valley
19   fever” or “sewage” or even “sewage capacity” or even “AB 900 and sewage.” Id. Rather, the
20   searches have additional qualifying terms like “implement” or “mitigation.” Id.
21          Request No. 34 provides an additional example.
22
                     Request No. 34: Any and all DOCUMENTS created during the
23                   RELEVANT TIME PERIOD that REFER or RELATE TO any
24                   consideration of the effects of any changes in parole policies on the
                     PRISON population.
25
     Rifkin Decl. Exh. A at 5. The only search term on Defendants’ list that appears to respond to
26
     this request is “Parole /5 reform /5 polic~ and prison /5 population.” Rifkin Decl. Exh. G.
27
     This means that the document must contain all of these words in close sequence. A document
28

                                                          -7-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 13 of 28


 1   analyzing the effect of stopping the practice of returning parolees to prison for technical
 2   violations would not be caught by this search if it did not specifically include the word
 3   “parole” in the five words preceding the word “reform.”
 4          This Court has previously held, with respect to requests for admission, that “[a] party
 5   may not avoid responding based on technicalities . . . . When the purpose and significance of a
 6   request are reasonably clear, courts do not permit denials based on an overly-technical reading
 7   of the request.” United States ex rel. Englund v. L. A. County, 235 F.R.D. 675, 684 (E.D. Cal.
 8   2006) (citing Holmgren v. State Farm Mut. Auto Ins. Co., 976 F.2d 573, 580 (9th Cir. 1992)
 9   (“Epistemological doubts speak highly of (party’s) philosophical sophistication, but poorly of
10   its respect for Rule 36(a).” (alteration in original))). The instant case is analogous. Defendants
11   seek to take only the exact terms Plaintiffs used in requests for production, even in cases when
12   Plaintiffs have explicitly defined the terms using additional or alternative words in the
13   “Definitions” section of the request. For example, in Plaintiffs’ requests for production using
14   the word “timetable,” Defendants replicated only the word “timetable” in their search terms.
15   Rifkin Decl. Exh. G. However, Plaintiffs specifically defined “timetable” as “any
16   DOCUMENT setting forth a calendar, schedule, chart, table, or any other information that
17   RELATES to the timing for completing any or all phase(s) of the subject matter of the
18   request.” Rifkin Decl. Exh. A at 5. Defendants’ maximally strict search terms are
19   unreasonable. See generally Charles Alan Wright et al., 8A Federal Practice and Procedure §
20   2211 (2d. ed. 2007) (“[R]equests for production should not be read or interpreted in an
21   artificially restrictive or hypertechnical manner to avoid disclosure of information fairly
22   covered by the discovery requests, and to do so is subject to appropriate sanctions under
23   subdivision (a) [of Rule 37].” (quoting Rule 37 Advisory Committee Notes)).
24
                   3.       Defendants Have Not Searched For Documents Responding To
25                          Plaintiffs’ Second Set of Requests For Production

26          Second, Defendants’ search terms evidence no consideration of Plaintiffs’ second set of
27   discovery requests whatsoever. This violates Defendants’ obligation under the Stipulation to
28   produce responses to both sets concurrently during their rolling production. Stip. at 3:2-3.

                                                          -8-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 14 of 28


 1   Without the concurrent production provision, Plaintiffs would not have agreed to a rolling
 2   production schedule that does not end until November 30, when production in response to the
 3   first set was due October 25, and the Court ordered that it be completed by November 1.
 4   Rifkin Decl. ¶ 5; 10/30/07 Order at 5:6-10. Yet, it cannot be seriously disputed that
 5   Defendants’ list of search terms is unresponsive to Plaintiffs’ second set of requests. For
 6   example, although multiple requests in the Coleman Plaintiffs’ October 17, 2007 requests for
 7   production refer to documents “produced for, in conjunction with, or by COMPSTAT,” during
 8   the relevant time period, the term “COMPSTAT” never appears on Defendants’ list of search
 9   terms. Rifkin Decl. Exhs. B, G. Many of Plaintiffs’ second set of requests for production also
10   request information specific to the Coleman class, delivery of mental health services, and
11   implementation of the Revised Program Guide, but again, zero relevant words are included in
12   Defendants’ list of search terms. Id. Defendants have stated that they consider Plaintiffs’
13   second set of requests for production covered by their search list and that they will not run
14   additional search terms. Rifkin Decl. ¶ 20.
15                 4.       Defendants Should Be Ordered To Allow Plaintiffs To Run Their
                            Own Searches On Defendants’ Document Index, To Produce
16                          Documents Accordingly, And To Create And Produce A List Of
                            Search Terms Responsive to Plaintiffs’ Second Set Of Requests For
17                          Production
18          While Plaintiffs do not contend that Defendants must use an endless variety of
19   synonyms, Defendants are obligated to formulate searches that are reasonably calculated to
20   produce meaningful results, rather than searches so restrictive that they will clearly exclude a
21   large amount of responsive information. See, e.g., United States ex rel. Englund, 235 F.R.D. at
22   680 (“Generally, if the information sought is contained in the responding party’s files and
23   records, he or she is under a duty to search the records to provide the answers.”); Peskoff v.
24   Faber, 240 F.R.D. 26, 31 (D.D.C. 2007) (“[I]t cannot be argued that a party should ever be
25   relieved of its obligation to produce accessible data merely because it may take time and effort
26   to find what is necessary.”).
27          Plaintiffs therefore ask the Court to order Defendants to immediately provide Plaintiffs
28   with a working and accurate “index” of data collected from the approximately eighty
                                                          -9-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 15 of 28


 1   custodians. This will not provide Plaintiffs with any actual documents, but only the equivalent
 2   to the index in the back of a book. Defendants should also be ordered to immediately produce
 3   the “hit list” that was generated from their search terms to Plaintiffs so that Plaintiffs can better
 4   assess the meaningfulness of the search that Defendants performed. Plaintiffs will then use
 5   this information and the index to construct meaningful search terms by testing iterations of
 6   searches against the index to see how many “hits” are produced. Plaintiffs will provide a final
 7   list of search terms to Defendants and Defendants should be ordered to run this search against
 8   their index and supplement their production of documents accordingly. Similar solutions have
 9   been employed by other courts in this circuit in cases where the adequacy of the responding
10   party’s searches is challenged. See, e.g., Qualcomm Inc. v. Broadcom Corp., 2007 WL
11   935617, at *4-5 (S.D. Cal. Mar. 13, 2007) (finding that dueling interpretations of what
12   constitutes reasonable search terms stalled discovery process, and granting Broadcom
13   immediate access to Qualcom’s database); In re CV Therapeutics, Inc. Securities Litig., 2006
14   WL 2458720, at *2 (N.D. Cal. Aug. 22, 2006) (ordering application of propounding party’s
15   search terms and refusing to limit documents to which search terms would be applied); see also
16   Williams v. Taser Int’l, Inc., 2007 WL 1630875, at *5-7 (N.D. Ga. June 4, 2007) (ordering
17   specific set of search terms for production of responsive documents).
18          Plaintiffs also request that the Court order Defendants to create and produce an
19   additional list of search terms in “DT Search” format to Plaintiffs that are responsive to
20   Plaintiffs’ October 17, 2007 Requests for Production. Defendants should produce relevant
21   documents resulting from application of these search terms to Plaintiffs by November 30,
22   2007, the close of the rolling production schedule.
23          B.     In Order To Meaningfully Respond To Plaintiffs’ Second Set Of Discovery
                   Requests, Defendants Must Gather Documents From Additional Individuals
24
                   1.       Defendants Should Be Ordered To Gather Responsive Documents
25                          From Additional Headquarters And Institution-Specific Staff
26
            The Stipulation required Defendants to disclose to Plaintiffs no later than Friday,
27
     November 9, 2007 the names of additional custodians, if any, from whom Defendants will
28

                                                         -10-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 16 of 28


 1   gather electronic documents in response to Plaintiffs’ second set of requests for production.
 2   Stip. at 2:12-16. Defendants did not provide this information on November 9, 2007, and on
 3   November 13, 2007 Plaintiffs’ requested the list of additional custodians as well as the
 4   opportunity to meet and confer regarding this list. Rifkin Decl ¶ 21. On November 14, 2007,
 5   during a telephone conference with the Court’s clerk, Defendants stated that they did not
 6   disclose a list because they did not identify a single additional custodian from whom they
 7   would seek to gather documents in response to Plaintiffs’ second requests. Id.
 8          Defendants’ current list of custodians from whom they have gathered electronic data
 9   contains 81 individuals, all of whom are (or were) employed by Defendants in the headquarters
10   of Defendant agencies CDCR, DOF, DMH, and the Governor’s office (GOV). Rifkin Decl.
11   Exh. E. This list does not contain a single warden or any other individual who works in any of
12   the 33 California prisons at issue in this case. Defendants have stated that they do not intend to
13   add a single custodian to this list who is not headquarters staff.3 Rifkin Decl. ¶ 22.
14          Plaintiffs’ second set of discovery requests include Coleman Plaintiffs’ request for
15   production of documents to Defendants Schwarzenegger, Tilton, Genest and Mayberg. Rifkin
16   Decl. Exh. B. In contrast to Plaintiffs’ first set of requests, which focused largely on
17   Defendants’ efforts to relieve the overcrowding crisis through AB 900, parole reform, and
18   other measures, the Coleman Plaintiffs’ requests were directed at the treatment and
19   programming provided to Coleman class members at CDCR prisons, and the ways in which
20   the overcrowding crisis is preventing delivery of constitutional mental health treatment.
21   Examples of these requests include:
22
                   Request for Production No. 2: ALL DOCUMENTS and
23                 COMMUNICATIONS that REFER or RELATE to limitations or
24                 modifications of mental health programming, services or treatment from

25   3
       Until Friday, November 16, 2007, Defendants took the position that they need not and would not add
26   any additional individuals to their list of custodians from whom to gather information responsive to
     these requests. During a telephonic meet and confer Friday afternoon, however, Defendants’ counsel
27   agreed to ask for responsive documents from five additional headquarters staff who are directly
     involved in the provision of mental health care. Rifkin Decl. ¶ 23.
28

                                                         -11-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 17 of 28


 1                  Revised Program Guide standards at any CDCR PRISON or housing unit
                    for any reason during the RELEVANT TIME PERIOD.
 2
 3
                    Request for Production No. 3: ALL DOCUMENTS and
 4                  COMMUNICATIONS that REFER or RELATE to limitations or
                    modifications of vocational or educational programming in any CDCR
 5
                    PRISON or housing unit for any reason during the RELEVANT TIME
 6                  PERIOD.

 7
                    Request for Production No. 22: ALL DOCUMENTS and
 8
                    COMMUNICATIONS that REFER or RELATE to the use of alternative
 9                  sites to licensed mental health crisis beds for prisoners in need of crisis
                    beds or suicide precautions, including but not limited to outpatient
10
                    housing units (“OHUs”), mental health outpatient housing units
11                  (“MHOHUs”), and holding cells, during the RELEVANT TIME
                    PERIOD.
12
13
                    Request for Production No. 23: ALL DOCUMENTS and
14                  COMMUNICATIONS that REFER or RELATE to the use of or referral
                    to mental health crisis beds for inmates not previously identified on the
15
                    MHSDS caseload during the RELEVANT TIME PERIOD.
16
17                  Request for Production No. 26: All DOCUMENTS and
                    COMMUNICATIONS that REFER or RELATE to the implementation
18
                    of Court-ordered mental health care programs in Reception Centers
19                  during the RELEVANT TIME PERIOD.

20   Rifkin Decl. Exh. B. Defendants continue to maintain that they will not gather additional
21   responsive documents in any form, paper or electronic, from any institution-specific staff,
22   including wardens, associate wardens, and senior mental health officers at prisons, such as
23   chief psychiatrist and chief psychologist. 4 Rifkin Decl. ¶ 24.
24
25   4
      Defendants have made one exception to this refusal: On Friday, November 16, Defendants’ counsel
26   committed to contacting each institution to determine if the institution has a copy of the Coleman 20th
     Monitoring Round Tour Binder produced for the Special Master. If the institution has a copy,
27   Defendants’ counsel has agreed to produce responsive documents from each institution’s binder.
     Rifkin Decl. ¶ 24.
28

                                                         -12-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 18 of 28


 1          This refusal constitutes a blatant violation of Defendants’ duty to conduct a reasonable
 2   search for responsive documents. See, e.g., Holmes v. Teer, 2006 WL 1550201, * 2 (E.D. Cal.
 3   May 31, 2006) (citing Federal Rule of Civil Procedure 34 and declaring that “[i]nsofar as
 4   documents are within Defendant’s possession, custody or control, he must determine whether
 5   they exist and produce them.”). Defendants’ primary argument during the meet and confer
 6   sessions regarding this point is that it would be too burdensome to conduct searches of
 7   institution-specific staff. Rifkin Decl. ¶ 23. Yet it is only institution-specific staff who will
 8   have documents responsive to many of these requests. In this circumstance, and in light of the
 9   fact that this case involves the basic needs of the more than 170,000 prisoners currently
10   warehoused in these institutions, tens of thousands of whom are stuffed into so-called “ugly
11   beds,” Defendants must conduct these searches. “[A] party responding to a Rule 34 production
12   request . . . ‘is under an affirmative duty to seek that information reasonably available to [it]
13   from [its] employees, agents, or others subject to [its] control.’” Hill v. Eddie Bauer, 242
14   F.R.D. 556, 560 (C.D. Cal. 2007) (alterations in original) (quoting Gray v. Faulkner, 148
15   F.R.D. 220, 223 (N.D. Ind. 1992)). Defendants are currently working to build yet more prisons
16   in California; they cannot shirk their legal obligations in discovery with an excuse that it is too
17   onerous for them to reasonably investigate those that already exist.
18          Defendants also took the position during the meet and confers that any relevant
19   information held by wardens and other institution-specific staff would be garnered by
20   searching the computers of headquarters staff. In fact, Defendants’ responses to Plaintiffs’
21   interrogatories attest to the fact that information presumably available on an institutional level
22   is not necessarily available at the headquarters level. For example, Coleman Plaintiffs’
23   Interrogatory No. 17 to Defendant Tilton asked: “For each CDCR PRISON, identify the
24   number of PRISONERS housed in NON-TRADITIONAL housing (defined as beds in gyms,
25   dayrooms, or other locations not intended to house inmates and including those beds referred
26   to as ‘bad beds’ and triple bunks) and the location of such housing as of October 17, 2007.”
27   Rifkin Decl. Exh. C at 6. Defendants responded that “[t]he CDCR database does not contain
28   such data.” Rifkin Decl. ¶ 43, Exh. Q at 17. The answer to this interrogatory makes clear that
                                                         -13-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 19 of 28


 1   documents responsive to Plaintiffs’ requests for production about, for example, the placement
 2   of Coleman class members in “non-traditional beds” would not necessarily be found at the
 3   headquarters level. On an institutional level, however, CDCR appears to track the number of
 4   inmates in these “bad beds” because Plaintiffs’ counsel received this information on some of
 5   the expert tours recently conducted at ten CDCR prisons. Rifkin Decl. ¶ 25.
 6          Defendants’ own documents also establish why searches at the institutional level are
 7   necessary. A memorandum5 dated May 25, 2007 from the Warden of Ironwood State Prison to
 8   the staff and inmates of Ironwood State Prison states:
 9
                   As many of you are aware due to overcrowding within the California
10                 Department of Corrections and Rehabilitation and the increase of
11                 incarcerated felons. [sic] The Department is currently out of beds. As a
                   result of this overcrowding, Ironwood State Prison has been mandated to
12                 activate 540 additional Emergency Beds on Facility ‘B’, ‘C’ and
13                 ‘D’…Unfortunately, Ironwood is also one of the 33 Adult Institutions
                   that is faced with a shortage of staff which further complicates a lot of
14                 issues as related to running ‘normal program’…[W]e are implementing a
15                 new ‘Rolling Modified’ program, which will dictate if we are short on
                   staff by a certain number, what programs will be conducted and which
16                 will be modified.
17   Rifkin Decl. ¶ 26, Exh. H. This type of document is directly responsive to Coleman Plaintiffs’
18   requests for production numbers 2 and 3 above (documents relating to limitations or
19   modifications of mental health programming, services or treatment from Revised Program
20   Guide standards at any prison or housing unit, and documents relating to limitations or
21   modifications of vocational or educational programming in any prison or housing unit), yet
22   Defendants’ current search of only headquarters custodians would not produce it.
23          Another example of a document that would presumably be produced at an institutional
24   level is the response of the Chief Deputy Warden at California Correctional Institution (CCI) to
25   a letter from the mother of a Coleman class member requesting information about why her
26
     5
27    This document was filed in this case by an individual unsuccessfully seeking to intervene in the
     proceedings before the three-judge court. Coleman Docket No. 2430.
28

                                                         -14-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 20 of 28


 1   son’s transfer out of the administrative segregation unit at CCI to an EOP SNY program at
 2   Mule Creek State Prison had been delayed. Rifkin Decl. ¶ 27, Exh. I. The Chief Deputy
 3   Warden wrote:
 4                 Your son was initially endorsed to Mule Creek State Prison, on January
 5                 17, 2007, and then re-endorsed on May 21, 2007. Your son must remain
                   in Administrative Segregation pending the transfer due to his case factors
 6                 [SNY]. Your sons’ [sic] transfer has been delayed due to inmate
 7                 population pressures. CCI staff is monitoring your son’s case and will
                   continue efforts to expedite the transfer. Please be aware there are other
 8                 inmates who have been endorsed prior to your son and are still awaiting
 9                 transfer.

10   This kind of document is directly responsive to Coleman Plaintiffs’ request for production
11   number 35: “ALL DOCUMENTS and COMMUNICATIONS created, exchanged, or made
12   from January 1, 2005 to present that REFER or RELATE to YOUR ability to timely place
13   COLEMAN CLASS MEMBERS in MHSDS beds at each level of care (CCCMS, EOP,
14   MHCB, DMH), including delays in referral, endorsement and transfer.” Rifkin Decl. Exh. B at
15   10.
16          Defendants’ attempts to circumvent their duty to gather documents that are reasonably
17   available to them should not be tolerated. Defendants’ indication that they have not yet
18   requested paper or electronic documents from staff at institutions regarding any of Plaintiffs’
19   discovery requests violates both their Rule 34 and 37 obligations and their agreement under the
20   stipulation to concurrently produce documents responsive to both sets of discovery according
21   to the rolling production schedule.
22          Plaintiffs request that the Court issue an order directing Defendants to submit a list of
23   additional custodians that is appropriately responsive to Plaintiffs’ discovery requests,
24   including but not limited to the wardens at the 33 prisons and any other relevant staff, at the
25   headquarters, institution, and regional levels, by close of business Tuesday, November 20,
26   2007. Relevant staff may include associate and deputy wardens as well as supervisory mental
27   health staff at the institutions. All gathering of data, both paper and electronic, and production
28   of documents to Plaintiffs from these additional custodians must be completed by November

                                                         -15-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 21 of 28


 1   30, 2007, the last production date for the rolling production schedule per the Stipulation. In
 2   addition, if any method of gathering this data that Defendants employ involves searching for
 3   particular words or phrases, Defendants should create this search list in collaboration with
 4   Plaintiffs’ counsel.
 5          C.     Defendants Should Be Required To Provide Additional Information
                   Concerning Potential Spoliation Of Evidence From Custodians’ Hard
 6                 Drives
 7                 1.       Defendants Have Not Adequately Explained What Happened To
                            Former Employees’ Hard Drives
 8
            In an October 30, 2007 email, Defendants informed Plaintiffs that the hard drives of
 9
     seven custodians from their list of 81 “were either flushed or could not be located.” Rifkin
10
     Decl. ¶ 28, Exh. J. The custodians are: Bud Prunty, John Dovey, Darc Keller, Peter Farber-
11
     Szekrenyi, Richard Kirkland, Brigid Hanson, and Teresa Schwartz. Id. These individuals held
12
     high-level positions during the pendency of this litigation and had significant involvement in
13
     the management of mental and medical health systems and/or overcrowding issues in the
14
     prison system. Rifkin Decl. ¶ 29. For example, Bud Prunty is the former CDCR
15
     Undersecretary of Operations, Dr. Farber-Szekrenyi is the former CDCR Director of
16
     Correctional Health Care Services, and Teresa Schwartz is a former Acting Director of Adult
17
     Institutions. Id.
18
            The parties’ November 2, 2007 stipulation required Defendants to provide Plaintiffs
19
     with “a written explanation regarding [Defendants’] efforts to obtain data from the hard drives
20
     of” the individuals in question by November 7, 2007. Stip. at 3:16-18. Since Defendants’
21
     October 30, 2007 email, Plaintiffs have repeatedly requested more detail regarding
22
     Defendants’ flushing and/or loss of these hard drives, including descriptions of the efforts
23
     made to locate these hard drives, how they were “scrubbed” or “flushed,” and any written
24
     policies regarding this procedure. Rifkin Decl. ¶ 31.
25
            On the evening of November 7, 2007, Defendants sent Plaintiffs an email stating that
26
     “[i]t is CDCR's policy and practice to flush and recirculate an individual’s hard drive
27
     upon separation from State service,” and indicating that, “with the exception of Bud Prunty,
28

                                                         -16-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 22 of 28


 1   the [custodians] were not CDCR employees or transferred to a different position prior to
 2   Plaintiffs serving any discovery in this matter.” Rifkin Decl. Exh. M. Additionally,
 3   Defendants summarily stated, without any detailed explanation, that “Defendants have made
 4   reasonable efforts to locate the above listed hard drives,”6 without providing any additional
 5   information. Id. Defendants did indicate, however, that “exchange server data (i.e. emails)
 6   exists for the above listed custodians.” Id.
 7          Defendants’ cursory November 7, 2007 statement falls far short of their obligation
 8   under the November 2, 2007 stipulation and raises serious concerns about the destruction of
 9   evidence that cannot be resolved without additional information. The custodians Defendants
10   have identified were high-level CDCR employees extremely likely to have responsive
11   documents and information pertinent to this litigation. Indicative of their relevance to these
12   discovery requests is their place on the narrow list of 34 individuals in CDCR that the parties
13   selected as most responsive to Plaintiffs’ requests for production.
14          Moreover, although Defendants have refused to disclose when these employees left
15   CDCR, Plaintiffs believe that at least six of the seven identified custodians were still employed
16   by CDCR when Plaintiffs initiated the overcrowding litigation in November 2006. Rifkin
17   Decl. ¶ 30 , Exhs. K, L. Additionally, the Coleman and Plata cases have been in ongoing
18   litigation for many years.
19          In order to further understand what happened to these individuals’ hard drives, Plaintiffs
20   have requested specific information regarding Defendants’ efforts as to the seven flushed or
21   missing hard drives, as well as general information regarding Defendants’ policies and
22   procedures relating to data and document retention policies and procedures. Rifkin Decl. ¶ 34,
23   Exh. N (listing the specific information Plaintiffs have requested that Defendants provide in the
24   form of sworn declaration(s) and/or authenticated documents). To date, Defendants have not
25
     6
26     Defendants reported that they located Mr. Prunty’s hard drive, but it had been reassigned to the
     individual, Dave Runnels, who replaced Mr. Prunty as CDCR Undersecretary of Operations.
27   Defendants asserted that “Defendants captured [Mr. Prunty’s] information when [they] imaged [the
     current employee’s] hard drive.” Rifkin Decl. Exh. M.
28

                                                         -17-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 23 of 28


 1   provided any of this information, although Defendants’ counsel represented on November 15,
 2   2007, that they would attempt to locate CDCR written policies regarding the flushing of hard
 3   drives. Rifkin Decl. ¶ 35. Plaintiffs have also requested copies of any “litigation hold”
 4   memoranda that were sent by Defendants’ counsel to Defendant agencies directing them to
 5   preserve information. Rifkin Decl. ¶ 35.
 6          There is no question that Defendants were obligated to preserve any evidence from the
 7   seven individuals at issue. Every litigant is “under a duty to preserve what it knows, or
 8   reasonably should know, is relevant in the action, is reasonably calculated to lead to the
 9   discovery of admissible evidence, is reasonably likely to be requested during discovery, and/or
10   is the subject of a pending discovery request.” Nat’l Ass'n of Radiation Survivors v. Turnage,
11   115 F.R.D. 543, 556-57 (N.D. Cal. 1987) (internal quotation marks omitted).
12          The duty to preserve potentially relevant evidence attaches not at the point when
13   discovery is served, but rather at the point when Defendants first became aware of a potential
14   claim. See Jacobs v. Scribner, 2007 WL 1994235, *1 (E.D. Cal. July 5, 2007) (“[A]s soon as a
15   potential claim is identified, a litigant is under a duty to preserve evidence which it knows or
16   reasonably should know is relevant to the action.” (internal quotation marks omitted)); see also
17   Leon v. IDX Sys. Corp., 464 F.3d 951, 959 (9th Cir. 2006) (“A party’s destruction of evidence
18   qualifies as willful spoliation if the party has some notice that the documents were potentially
19   relevant to the litigation before they were destroyed.” (internal quotation marks omitted)).
20   Beyond the fact that litigation has been ongoing for years in Coleman and Plata, Plaintiffs’
21   motion for a prisoner release order on November 13, 2006 unmistakably gave rise to a duty to
22   preserve evidence from these custodians – all high-ranking CDCR staff likely to have
23   potentially relevant evidence. Cf. Quinby v. WestLB AG, --- F.R.D. ----, 2006 WL 2597900, *9
24   (S.D.N.Y. Sept. 5, 2006) (“The scope of the duty extends to the key players in a litigation, i.e.,
25   individuals likely to have discoverable information that the disclosing party may use to support
26   its claims or defenses.” (internal quotation marks omitted)).
27          Defendants’ representation that the hard drives were lost or flushed pursuant to CDCR’s
28   regular policy is not a safe harbor. District courts have awarded sanctions where parties
                                                         -18-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 24 of 28


 1   continued their routine practice of erasing former employees’ hard drives after the obligation to
 2   preserve evidence arose. See, e.g., Cache La Poudre Feeds, LLC v. Land O Lakes, Inc., 244
 3   F.R.D. 614, 629 (D. Colo. 2007) (issuing spoliation sanctions where “counsel was aware that
 4   an accessible source of information (i.e., computer hard drives used by departed employees)
 5   was being eliminated as a routine practice”); cf. Tenet Healthsystem Desert, Inc. v. Fortis Ins.
 6   Co., Inc., -- F. Supp. 2d --, 2007 WL 2982241, *12 (C.D. Cal. Aug. 3, 2007) (“The destruction
 7   of the evidence need not be in ‘bad faith’ to warrant the imposition of sanctions.”). Moreover,
 8   “[i]n the Ninth Circuit, spoliation of evidence raises a presumption that the destroyed evidence
 9   goes to the merits of the case, and further, that such evidence was adverse to the party that
10   destroyed it.” Google Inc. v. Am. Blind & Wallpaper Factory, Inc., 2007 WL 1848665, *3
11   (N.D. Cal. June 26, 2007); see also Leon, 464 F.3d at 959 (“[B]ecause ‘the relevance of . . .
12   [destroyed] documents cannot be clearly ascertained because the documents no longer exist,’ a
13   party ‘can hardly assert any presumption of irrelevance as to the destroyed documents.’”
14   (second and third alterations in original)).
15                 2.       Defendants Should Be Ordered To Produce Information Relevant To
                            Further Proceedings On This Issue
16
17          The evidence that appears to have been lost or destroyed by Defendants is likely to have
18   contained information and admissions key to the central considerations of this case, namely
19   that overcrowding is the primary cause of Defendants’ ongoing constitutional violations of
20   class members’ rights to adequate medical and mental health care; and that no relief other than
21   a prisoner release order will remedy these violations. Defendants have not yet fully explained
22   the spoliation of this evidence or the reasonableness of their actions with respect to it. If
23   Defendants cannot either recover this data or explain why the exchange server information is
24   sufficient, Plaintiffs may need additional depositions of those individuals, additional
25   information from other custodians, or may even need to seek some form of sanctions.
26          Plaintiffs therefore request an order requiring Defendants to fully explain what
27   happened, including what staff instructed the flushing of computers, who looked for the
28   missing data and/or hard drives, and what alternative information has been captured and for
                                                         -19-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR               Document 2537          Filed 11/19/07       Page 25 of 28


 1   what time period. Defendants should also be ordered to provide all relevant written agency
 2   policies regarding data/computer/document retention. To the extent that Defendants may be
 3   able to recover information from these flushed hard drives, the Court should order Defendants
 4   to take all such necessary actions.
 5   IV.    ADDITIONAL DISCOVERY DISPUTES WHICH PLAINTIFFS REQUEST BE
            HEARD AS SOON AS POSSIBLE BY THIS COURT
 6
            A.      The Urgent Need For A Hearing Concerning Plaintiffs’ Objections To
 7                  Defendants’ Overbroad Assertions Of Privilege And The Scope Of The
                    Application Of The Deliberative Process Privilege In This Case
 8
 9          To date, Defendants have produced two privilege logs, corresponding with their
10   November 1 and November 9, 2007 productions. Rifkin Decl. ¶ 40. Defendants produced a
11   total of approximately 31,500 pages of documents to Plaintiffs on these two dates. Rifkin
12   Decl. ¶ 40. Defendants’ privilege log reports that for the same productions, Defendants have
13   withheld almost 39,000 pages, or more than half of the total pages reviewed.7 The privilege
14   logs produced by Defendants total 369 pages and reference thousands documents withheld for
15   a corresponding actual production of 3,257 documents. Rifkin Decl. ¶ 40.
16          In support of these assertions of privilege, which are primarily claims of deliberative
17   process privilege, Defendants submitted two sets of declarations from high-level officers.
18   Rifkin Decl. ¶ 36. On November 5, 2007, after receiving the first set of these declarations,
19   Plaintiffs requested to meet and confer with Defendants regarding, among other topics, these
20   global assertions of privilege. Rifkin Decl. ¶ 36. At that time, Defendants requested that
21   Plaintiffs wait for the production of the first privilege log, and agreed that both parties would
22   move on an expedited basis to address this important issue when that log was produced. Rifkin
23   Decl. ¶¶ 37-39. After the first log was produced on November 9, 2007, showing that one-third
24   of Defendants’ responsive pages for the November 1 production had been withheld pursuant to
25
26   7
      In the interest of efficiency, Plaintiffs do not attach these privilege logs here because the Stipulation,
27   as per the request of the Court, obligates Defendants to file the logs with the Court concurrently with
     production to Plaintiffs for in camera review. Stip. at 2:24-27.
28

                                                          -20-
               Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 26 of 28


 1   claims of privilege, Plaintiffs requested an urgent meet and confer on November 13, 2007 with
 2   Defendants about this issue. Rifkin Decl. ¶ 41. In response to a request from Defendants,
 3   Plaintiffs sent a subsequent email later on November 13 outlining Plaintiffs’ objections to the
 4   assertions of privilege and provided 20 examples from the 64-page log where the privilege
 5   either clearly did not apply or insufficient information was provided to sustain the privilege.
 6   Rifkin Decl. Exh. O. Defendants responded the following day with a suggestion that Plaintiffs
 7   and Defendants wait to meet and confer about privilege issues until December 5, after
 8   document production is completed pursuant to the rolling production schedule. Rifkin Decl. ¶
 9   41.
10          Defendants subsequently agreed to conduct a meet and confer on November 16, limited
11   to the issue of insufficient information in the first privilege log. Id. During this meet and
12   confer, Defendants stated that they would update their privilege logs with more complete
13   information, but that they have no intention of even narrowing the privilege log to eliminate
14   documents that are clearly not privileged, such as final plans of agencies or letters submitted by
15   agencies to the Coleman Special Master or members of the Legislature.8 Rifkin Decl. ¶ 42.
16          During this meet and confer, the parties discussed Plaintiffs’ two-part global objections
17   to Defendants’ assertion of deliberative process privilege on behalf of this extensive list of
18   documents. Id. First, Plaintiffs object to Defendants’ far too broad application of this privilege
19   and Defendants’ refusal to conduct a more thorough review of their privilege log to narrow the
20   number of documents properly at issue. Second, Plaintiffs also contend that even for many of
21   the documents that may properly fall within the scope of the deliberative process privilege, this
22   qualified privilege is overcome in the instant case because the PLRA criteria that the three-
23   judge court must evaluate place the deliberative process of these agencies directly at issue.
24   Furthermore, the Court’s interest and the public interest in accurate fact-finding as to whether a
25
26   8
      Examples of these are found in Defendants’ first privilege log, produced November 9, at p.10
27   (Priv001027-001030), p.19 (Priv001331-001352), and p.32 (Priv002790-002791, Priv002804-
     002805).
28

                                                         -21-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 27 of 28


 1   statewide prisoner release order should be issued far outweigh the government’s interest in
 2   non-disclosure.
 3          Plaintiffs and Defendants agreed that issues concerning the scope and application of the
 4   deliberative process privilege are urgent, and should be heard by the Court. Rifkin Decl. ¶ 42.
 5   Plaintiffs ask the Court to schedule a hearing before the Thanksgiving holiday on November
 6   22, 2007, if possible, or as soon thereafter as the Court deems appropriate, in light of the close
 7   of the rolling production schedule on November 30, 2007 and the final discovery cut-off of
 8   December 20, 2007. On November 23, 2007, Defendants will produce their fourth set of
 9   documents, and presumably, another hefty privilege log for the November 16 production. It is
10   wasteful of Plaintiffs’ and this Court’s time to review a 300-page privilege log with clear errors
11   in the application of the privilege. Plaintiffs suggest that an efficient approach would be for
12   this Court to decide the global privilege issues to the extent possible and immediately set some
13   ground rules for the assertion of privilege.
14          B.     Dispute Regarding Defendants’ Responses To Plaintiffs’ Second Set Of
                   Discovery Requests
15
16          On November 13, 2007, Plaintiffs received Defendants’ responses and objections to
17   Plaintiffs’ second set of discovery requests, served October 17, 2007. Rifkin Decl. ¶ 43.
18   Plaintiffs raise a number of issues concerning these responses, including:
19            1.   If Defendants do not include search terms relevant to Plaintiffs’ October 17, 2007
20                 requests for production in their search of electronic data, their responses are not
21                 meaningful, adequate or reasonable.
22            2.   If Defendants do not expand their search for responsive documents to institution-
23                 specific staff and other relevant headquarters staff, their responses are not
24                 meaningful, adequate, or reasonable.
25            3.   The declarations filed with Defendants’ responses indicate that Defendants will
26                 be asserting similar privileges in a similarly overbroad manner to all documents
27                 identified in response to these requests.
28

                                                         -22-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
     Case 2:90-cv-00520-KJM-SCR              Document 2537          Filed 11/19/07       Page 28 of 28


 1            4.    Responses to the Coleman Plaintiffs’ requests for production included the
 2                  identification of categories of documents allegedly already produced or
 3                  accessible to Plaintiffs that have not in fact been regularly produced, such as
 4                  monthly reports and monitoring tour binders. Defendants stated in response to
 5                  some requests that no documents additional to regular Coleman production
 6                  would be produced, disregarding Plaintiffs’ requests for documents such as drafts
 7                  and e-mail communications.
 8           The first two issues are before the Court today as they relate to Plaintiffs’ requests for
 9   production. For the second issue, Plaintiffs also object to Defendants’ failure to consult
10   institution-specific staff in their responses to Plaintiffs’ interrogatories. Plaintiffs request that
11   the Court address the third issue in the expedited hearing regarding Defendants’ assertions of
12   privilege. Plaintiffs request that the Court set the fourth issue for an expedited hearing date as
13   well.
14
15   Dated: November 19, 2007                                       Respectfully submitted,
16
17                                                                  /s/ Lori Rifkin
                                                                    Lori Rifkin
18                                                                  Rosen, Bien & Galvan
                                                                    Attorneys for Coleman Plaintiffs
19                                                                  And On behalf of Plata Plaintiffs
20
21
22
23
24
25
26
27
28

                                                         -23-
              Plaintiffs’ Statement Regarding Discovery Dispute, Nos.: Civ S 90-0520 LKK-JFM, C01-1351 TEH
